UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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STATE OF NEW YORK, et al.,                                                      :
                                                                                :
                                    Plaintiffs,                                 :
                                                                                :    18-CV-2921 (JMF)
                  -v-                                                           :
                                                                                :     MEMORANDUM
UNITED STATES DEPARTMENT OF COMMERCE, et al.,                                   :   OPINION AND ORDER
                                                                                :
                                    Defendants.                                 :
                                                                                :
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JESSE M. FURMAN, United States District Judge:

        On September 28, 2018, Defendants filed yet another application for a stay of discovery
in these cases, “including” but not limited to the depositions of Secretary of Commerce Wilbur
L. Ross, Jr., and John M. Gore, Acting Assistant Attorney General for the Civil Rights Division
— this time “pending Supreme Court review.” (Docket No. 359). The application — which
does not even bother to recite the requirements for a stay, let alone attempt to show that those
requirements have been met — is hard to understand as anything more than a pro forma box-
checking exercise for purposes of seeking relief in the Supreme Court. This Court has already
rejected Defendants’ requests for stays of discovery altogether, of the Assistant Attorney General
Gore’s deposition, and of Secretary Ross’s deposition, (see Docket No. 308; Docket No. 345, at
12), and it adheres to its views on the merits of those requests.

        To the extent that Defendants request a stay of all discovery, their application is
particularly frivolous — if not outrageous — given their inexplicable (and still unexplained)
two-month delay in seeking that relief, see New York v. U.S. Dep’t of Commerce, No. 18-CV-
2921 (JMF), 2018 WL 4279467, at *2 (S.D.N.Y. Sept. 7, 2018), and their representation to the
Second Circuit only last week that they were not actually seeking a stay of all discovery, (see
Docket No. 360, at 1-2). If anything, the notion that Defendants will suffer irreparable harm
absent a stay of all discovery is even more far-fetched now than it was when first requested on
August 31, 2018, as the parties are nearly three months into discovery and only days away from
completing it. The Court will not permit (and doubts that either the Second Circuit or the
Supreme Court would permit) Defendants to use their arguably timely challenges to the Orders
authorizing depositions of Assistant Attorney General Gore and Secretary Ross to bootstrap an
untimely — and almost moot — challenge to the July 3rd Order authorizing extra-record
discovery, particularly when only nine business days remain before the close of such discovery
and much apparently remains to be done. (See Docket No. 360-1).

       Unless and until this Court’s Orders are stayed by a higher court, Defendants shall
comply with their discovery obligations completely and expeditiously; the Court will not look
kindly on any delay, and — absent relief from a higher court — will not extend discovery
beyond October 12th given the November 5th trial date. As for the deposition of Secretary Ross,
which has been administratively stayed by the Court of Appeals (see Docket No. 360-3), the
Court takes Defendants at their word when they say that the deposition “can be conducted
expeditiously should [the Second Circuit] deny the government’s petition,” (Pets. for Mandamus
at 32, Nos. 18-2856 & 18-2857 (2d Cir. Sept. 27, 2018)). In light of that representation, and the
discovery deadline of October 12, 2018, Defendants should endeavor to ensure that Secretary
Ross remains available for a deposition on October 11, 2018, so that the deposition may take
place before discovery closes in the event that the administrative stay is lifted by that date and
Defendants’ efforts to obtain permanent relief fail.

        For the foregoing reasons, Defendants’ latest application for stay of discovery in these
cases, “including” the depositions of Secretary Ross and Assistant Attorney General Gore, is
DENIED. The Clerk of Court is directed to terminate Docket No. 359.

       SO ORDERED.

Dated: September 30, 2018                            __________________________________
       New York, New York                                     JESSE M. FURMAN
                                                            United States District Judge




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